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                                             July 6, 2020

The Honorable Eldon E. Fallon
500 Poydras Street
 Room C456
New Orleans, LA 70130
Filed via CM/ECF

RE: Caliste v. Cantrell, Case No. 2:17-cv-06197-EEF-MBN

Dear Judge Fallon,

        I write regarding the challenge to subject matter jurisdiction that was raised by Judge
Cantrell in response1 to Plaintiffs’ Motion for Injunctive Relief.2 Although Plaintiffs have
recently withdrawn their motion3 in light of the recent changes to the laws that created the
asserted conflict of interest underlying Plaintiffs’ Motion for Injunctive Relief, Judge Cantrell
believes that his challenge to subject matter jurisdiction is still a pending issue before the Court.

        Of course, “lack of subject matter jurisdiction can be raised at any time,”4 and Judge
Cantrell believes that he has adequately raised a challenge to this Court’s jurisdiction to hear and
decide the conflict of interest issue. If this Court lacked subject matter jurisdiction to decide
Plaintiffs’ conflict of interest claim because that claim was not redressible by Judge Cantrell,
then the part of the declaratory judgment against Judge Cantrell finding an unconstitutional
conflict of interest5 is not valid.

        Judge Cantrell is continually faced with accusations that he is not complying with the
declaratory judgment because he makes bail determinations despite this Court finding a conflict
of interest. These accusations have gone so far as to include a letter from local law professors

1
  R. Doc. 164 – Defendants’ Memorandum in Opposition to Plaintiffs Motion for Injunctive
Relief.
2
  R. Doc. 161 – Plaintiffs’ Motion for Injunctive Relief.
3
  R. Doc. 194 – Plaintiffs’ Motion to Withdraw Their Pending Motion for Injunctive Relief.
4
  Kontrick v. Ryan, 540 U.S. 443, 455, 124 S. Ct. 906, 915, 157 L. Ed. 2d 867 (2004); Fed. Rule
Civ. Proc. 12(h)(3) ( “Whenever it appears by suggestion of the parties or otherwise that the
court lacks jurisdiction of the subject matter, the court shall dismiss the action.”).
5
  R. Doc. 131 at 25.

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claiming that Judge Cantrell, “continue(s) to flout” federal court rulings. Such attacks, which
impact Judge Cantrell personally and professionally, are baseless if there was no subject matter
jurisdiction to render a judgment on the conflict of interest claim. Accordingly, Judge Cantrell
has an ongoing interest in this Court’s disposition of his challenge to this Court’s subject matter
jurisdiction to decide Plaintiffs’ conflict of interest claim.

                                                     Best Regards,



                                                     Mindy Nunez Duffourc

CC via CM/ECF:

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